      Case 3:20-cv-03345-WHO         Document 194      Filed 08/02/23    Page 1 of 1




                       UNITED STATES COURT OF APPEALS                         FILED
                              FOR THE NINTH CIRCUIT                            AUG 2 2023
                                                                          MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
BMA, LLC; YAROSLAV KOLCHIN,                         No.    21-16577

                   Plaintiffs-Appellants,           D.C. No. 3:20-cv-03345-WHO
                                                    Northern District of California,
 v.                                                 San Francisco

HDR GLOBAL TRADING LIMITED; et al., ORDER

                   Defendants-Appellees,

and

AGATA MARIA REED; et al.,

                   Defendants.

         The court’s June 22, 2023, order directed appellants to file a response by

July 13, 2023, and warned that failure to comply would result in dismissal of this

appeal. Appellants have failed to respond. This appeal is dismissed for failure to

prosecute. See 9th Cir. R. 42-1.

         This order served on the district court will, 21 days after the date of this

order, act as the mandate of this court.

                                                     FOR THE COURT:

                                                     MOLLY C. DWYER
                                                     CLERK OF COURT




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